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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 STRIKE 3 HOLDINGS, LLC,                           Civil Case No. 0:23-cv-00573-PJS-DJF

        Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 24.131.129.76,

        Defendant.


                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                          WITHOUT PREJUDICE OF JOHN DOE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Strike 3 Holdings,

LLC hereby gives notice that its claims in this action against Defendant John Doe, subscriber

assigned IP address 24.131.129.76, are voluntarily dismissed without prejudice.


Dated: July 31, 2023                               Respectfully submitted,

                                                   By: /s/ Jeremy J. Thompson
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